 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 1 of 31 Page ID #:74



 1   DAVID C. SHONKA
     Acting General Counsel
 2
     THOMAS J. WIDOR (DC 490184)
 3   DANIEL DWYER (CA 286701)
 4   FEDERAL TRADE COMMISSION
     600 Pennsylvania Ave., NW, Mail Drop CC-10232
 5   Washington, DC 20580
 6   Telephone: (202) 326-3039
     Facsimile: (202) 326-3768
 7   Email: twidor@ftc.gov; ddwyer@ftc.gov
 8
     THOMAS J. SYTA (CA 116286)
 9
     FEDERAL TRADE COMMISSION
10   10877 Wilshire Blvd., Suite 700
11   Los Angeles, California 90024
     Telephone: (310) 824-4324
12   Facsimile: (310) 824-4380
13   Email: tsyta@ftc.gov
14   Attorneys for Plaintiff
15   FEDERAL TRADE COMMISSION
16                      UNITED STATES DISTRICT COURT
17                     CENTRAL DISTRICT OF CALIFORNIA

18   FEDERAL TRADE COMMISSION,
19                              Plaintiff,   Case no. 2:16-cv-07329-CAS(AJWx)
                  v.                         Honorable Christina A. Snyder
20
21   UNIVERSAL CITY NISSAN, INC., et al. FEDERAL TRADE
22                                       COMMISSION’S
                         Defendants.     MEMORANDUM OF POINTS
23
                                         AND AUTHORITIES IN
24                                       SUPPORT OF MOTION FOR
25                                       PRELIMINARY INJUNCTION

26
                                             Date: November 14, 2016
27                                           Time: 10:00 a.m.
28                                           Courtroom: 5, 312 N. Spring St.
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 2 of 31 Page ID #:75



 1                                            TABLE OF CONTENTS
 2
 3   I. INTRODUCTION ...............................................................................................1
 4   II. DEFENDANTS ...................................................................................................3
 5   A.        Corporate Defendants .......................................................................................3
 6   B.        Individual Defendants ......................................................................................3
 7   III. PRELIMINARY INJUNCTION STANDARD ..................................................4
 8   IV. DEFENDANTS FOR YEARS HAVE DECEIVED CONSUMERS WITH
 9               BLATANTLY UNLAWFUL ADVERTISING AND PHONY REVIEWS ..5
10   A.        Defendants Have Deceived Consumers in Violation of the FTC Act. ............5
11        1.      Defendants Have Disseminated a Variety of Deceptive Ads. ......................6

12          i.      Defendants Have Deceptively Advertised Key Terms Such As Low

13          Down Payments and Low Monthly Payments. ..................................................6

14          ii.     Defendants Have Deceptively Advertised That an Offer is for the
15          Purchase of a Car................................................................................................8
16          iii. Defendants Have Deceptively Advertised Offers that Are Not Generally
17          Available to Consumers. ....................................................................................9
18
            iv. Defendants Have Deceptively Advertised That That They Will Pay Off a
19
            Consumer’s Trade-in Even if the Consumer Owes Money on the Existing
20          Loan or Lease. ..................................................................................................10
21
          2. Defendants Have Posted and Promoted Deceptive Consumer Testimonials
22        and Endorsements. ..............................................................................................11
23   B.        Defendants Have Violated TILA and the CLA. .............................................15
24   C.        Corporate Defendants Have Operated as a Common Enterprise and Thus Are
25             Each Jointly and Severally Liable. .................................................................16
26   D.        Individual Defendants Are Liable for Injunctive and Monetary Relief. ........17
27   V. A PRELIMINARY INJUNCTION AGAINST DEFENDANTS IS NEEDED

28               TO HALT DEFENDANTS’ ILLEGAL PRACTICES .................................20
                                                                 i
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 3 of 31 Page ID #:76



 1   A.      The Commission Is Likely to Succeed on the Merits. ...................................20
 2   B.      The Balance of Equities Favors Injunctive Relief. ........................................20
 3   C.      The Scope of the Proposed Preliminary Injunction Is Necessary and
             Appropriate in Light of Defendants’ Egregious, Unlawful Conduct. ............22
 4
     VI. CONCLUSION .................................................................................................25
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                             ii
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 4 of 31 Page ID #:77



 1                                         TABLE OF AUTHORITIES
 2
     CASES
 3
 4   Athleta, Inc. v. Pitbull Clothing Co., No. CV 12-10499-CAS (FMOx), 2013

 5           WL 142877 (C.D. Cal. Jan. 7, 2013) ............................................................... 5

 6   Flynt Distrib. Co. v. Harvey, 734 F.2d 1389 (9th Cir. 1984) .................................... 5

 7   FTC v. Affordable Media, LLC, 179 F.3d 1228 (9th Cir. 1999)................3, 5, 22, 23

 8   FTC v. Am. Tax Relief LLC, No. CV 11-6397 DSF (PJWx), 2012 WL

 9           8281722 (C.D. Cal. Aug. 8, 2012)................................................................... 7

10   FTC v. Amy Travel Serv., Inc., 875 F.2d 564 (7th Cir. 1989) ...........................20, 21
     FTC v. Applied Mktg. Sciences, LLC, No. CV13-06794 CAS (CWx), slip op.
11
             (C.D. Cal. Sept. 16, 2013) ............................................................................... 2
12
     FTC v. Benning, 2010 WL 2605178 (N.D. Cal. June 28, 2010) ............................. 21
13
     FTC v. Bronson Partners, LLC, 564 F. Supp. 2d 119 (D. Conn. 2008) .................. 17
14
     FTC v. Cantkier, No. 1:09-cv-00894 (CKK) (D.D.C. May 15, 2009) .................... 26
15
     FTC v. City W. Advantage, Inc., 2008 WL 2844696 (D. Nev. July 22, 2008) ........ 24
16
     FTC v. Colgate-Palmolive, 380 U.S. 374 (1965) ...................................................... 7
17
     FTC v. Commerce Planet, Inc., 878 F. Supp. 2d 1048 (C.D. Cal. 2012) ................ 21
18
     FTC v. Cornerstone and Co., No. 1:14-cv-01479-RC, slip op. (D.D.C. Aug.
19
             29, 2014) ........................................................................................................ 26
20
     FTC v. Cyberspace.com, LLC, 453 F.3d 1196 (9th Cir. 2006) ...................6, 7, 8, 22
21
     FTC v. Cyberspy Software, LLC, No. 6:08-cv-1872-Orl-31GJK, 2008 WL
22
             5157718 (M.D. Fla. Nov. 25, 2008) ................................................................ 3
23
     FTC v. Data Med. Capital, Inc., 2010 WL 1049977 (C.D. Cal. Jan. 15,
24
             2010) .............................................................................................................. 12
25
     FTC v. Evans Products Co., 775 F.2d 1084 (9th Cir. 1985) ..................................... 5
26
     FTC v. Five-Star Auto Club, Inc., 97 F. Supp. 2d 502 (S.D.N.Y. 2000).....12, 20, 23
27
     FTC v. Gill, 265 F.3d 944 (9th Cir. 2001) ................................................................. 6
28
                                                                  iii
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 5 of 31 Page ID #:78



 1   FTC v. Grant Connect, LLC, 827 F. Supp. 2d 1199 (D. Nev. 2011) ...................... 16
 2   FTC v. J.K. Publ’ns, Inc., 99 F. Supp. 2d 1176 (C.D. Cal. 2000) .....................18, 19
 3   FTC v. John Beck Amazing Profits, LLC, 865 F. Supp. 2d 1052 (C.D. Cal.
 4          Apr. 20, 2012) .................................................................................................. 7
 5   FTC v. John Beck Amazing Profits, LLC, No. CV-09-4719-FMC-FFMx,
 6          2009 WL 7844076 (C.D. Cal. Nov. 17, 2009) .......................................... 3, 24
 7   FTC v. Johnson, No. 2:10-cv-02203-RLH-GWF, slip op. (D. Nev. Feb. 10,
 8          2011) ................................................................................................................ 3
 9   FTC v. Kennedy, 574 F. Supp. 2d 714 (S.D. Tex. 2008) ......................................... 19
10   FTC v. LeanSpa, LLC, No. 3:11-CV-1715, 2015 WL 1004240 (Mar. 5,
11          2015) .............................................................................................................. 17
12   FTC v. Lights of Am., Inc., 2013 WL 5230681 (C.D. Cal., Sept. 17, 2013) .8, 12, 13
13   FTC v. Mallett, 818 F. Supp. 2d 142 (D.D.C. 2011) ............................................... 23
14   FTC v. Neovi, Inc., 598 F. Supp. 2d 1104 (S.D. Cal. 2008) .................................... 19
15   FTC v. Network Servs. Depot, Inc., 617 F.3d 1127 (9th Cir. 2010) ........................ 19
16   FTC v. Pantron I Corp., 33 F.3d 1088 (9th Cir. 1994) ....................................... 7, 22
17   FTC v. Publ’g Clearing House, Inc., 104 F.3d 1168 (9th Cir. 1997).................. 3, 20
18   FTC v. Ross, 897 F. Supp. 2d 369 (D. Md. 2012) ................................................... 21
19   FTC v. Stefanchik, 559 F.3d 924 (9th Cir. 2009).......................................5, 6, 20, 22
20   FTC v. Stefanchik, No. C04-1852RSM, slip op. (W.D. Wash. Oct. 20, 2004) ......... 3
21   FTC v. Stuffingforcash.com Corp., No. 1:02-cv-05022-CRN, slip op. (N.D.
22          Ill. Aug. 26, 2002).......................................................................................... 26

23   FTC v. USA Fin., LLC, 415 Fed.Appx. 970 (11th Cir. 2011) ................................... 9

24   FTC v. Warner Commc’ns, Inc., 742 F.2d 1156 (9th Cir. 1984)............................ 23

25   FTC v. World Travel Vacation Brokers, 861 F.2d 1020 (7th Cir. 1988) ................ 27

26   FTC v. World Wide Factors, Ltd., 882 F.2d 344 (9th Cir. 1989) ..................5, 23, 24

27   In re Cliffdale Associates, Inc., 103 F.T.C. 110 (1984) ............................................. 7

28   Nat. Dynamics Corp. v. FTC, 492 F.2d 1333 (2d Cir. 1974) .................................. 12
                                                                 iv
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 6 of 31 Page ID #:79



 1   SEC v. Unifund SAL, 910 F.2d 1028 (2d Cir. 1990) ................................................ 26
 2   Standard Oil Co. of Ca. v. FTC, 577 F.2d 653 (9th Cir. 1978) ................................. 8
 3   The Wimbledon Fund, SPC v. Graybox, LLC, 2015 WL 5822580 (C.D. Cal.
 4            Sept. 29, 2015) ............................................................................................... 27
 5
     RULES
 6
 7   12 C.F.R. § 213.7 ...............................................................................................15, 16

 8   12 C.F.R. § 226.24(b)-(d) ........................................................................................ 15

 9   16 C.F.R. § 255.5 ..................................................................................................... 15

10   STATUTES
11
     15 U.S.C. § 1607 ........................................................................................................4
12
     15 U.S.C. § 45(a) ...................................................................................................1, 5
13
     15 U.S.C. § 53(b) .......................................................................................................4
14
     15 U.S.C. §§ 1601-1666j ...........................................................................................1
15
     15 U.S.C. §§ 1667-1667f ...........................................................................................1
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                 v
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 7 of 31 Page ID #:80




 1   I. INTRODUCTION
 2         For years, Defendants have engaged in a sustained campaign of deceptive
 3   advertising and fake online reviews in violation of the FTC Act, the Truth in
 4   Lending Act (“TILA”), and the Consumer Leasing Act (“CLA”). Defendants have
 5   flouted the law and brazenly continued to employ deceptive ads and online reviews
 6   even while the Federal Trade Commission (“FTC”) and other law enforcement
 7   agencies have brought numerous actions halting these types of deceptive practices.
 8   Given Defendants’ ongoing, unlawful conduct, the FTC moves for a preliminary
 9   injunction to halt Defendants’ violations of Section 5(a) of the FTC Act, 15 U.S.C.
10   § 45(a), TILA, 15 U.S.C. §§ 1601-1666j, and the CLA, 15 U.S.C. §§ 1667-1667f.
11         Defendants, which include nine dealerships collectively known as “Sage
12   Auto” and their three individual owners, deceptively advertise through a variety of
13   media, including television, radio, print, and online marketing. Their advertising
14   has targeted non-English speakers as well as financially distressed consumers,
15   emphasizing, for example, that the dealerships accept all credit applications and
16   help everyone regardless of bad credit, bankruptcy, or repossession. Decl. of FTC
17   Investigator Joseph D. Weber, Jr., attached as Plf’s Ex. 1 (hereinafter, “PX1”) ¶ 33.
18   Defendants have employed textbook examples of unlawful, deceptive advertising:
19   in many instances, they have misrepresented key terms or hidden additional
20   material language that significantly qualified or contradicted the prominently
21   advertised terms. They have deceptively presented discounts and prices that were
22   not available to the typical consumer and have deceptively advertised purchase
23   offers that are actually leases. Defendants also have claimed that they would pay
24   off a consumer’s trade-in vehicle when the consumer purchased or leased a car,
25   only to charge consumers for any amount owed on the trade-in. And just after the
26   FTC filed its Complaint, Defendants ran an egregious advertisement targeting
27   Spanish-speaking consumers. PX1 ¶¶ 45-47. Many of Defendants’ advertisements
28   not only violate the FTC Act but also TILA and the CLA.

                                              1
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 8 of 31 Page ID #:81




 1         Defendants also have posted and used phony online reviews. In numerous
 2   instances, Defendants’ employees or agents have posted positive, five-star reviews
 3   that purport to be independent and objective on websites such as Facebook,
 4   Google+, and Yelp. Defendants have cited these reviews as evidence of the quality
 5   of their services and have used these reviews to attempt to discredit or neutralize
 6   the many consumer complaints and negative reviews exposing their deceptive
 7   advertising and other unlawful acts and practices, including egregious add-on and
 8   yo-yo financing tactics.1 These reviews are often fake and do not disclose the
 9   material fact that they are written by Defendants’ employees or agents.
10         A preliminary injunction is needed to stop Defendants from continuing to
11   perpetrate their deceptive acts and practices. The FTC therefore presently seeks a
12   preliminary injunction order from this Court on Complaint Counts I-II and VII-IX.
13   Courts have routinely entered the FTC’s motions for temporary or preliminary
14   relief in similar circumstances in this district and elsewhere. See, e.g., FTC v.
15   Applied Mktg. Sciences, LLC, No. CV13-06794 CAS (CWx), slip op. (C.D. Cal.
16   Sept. 16, 2013) (ex parte TRO, stipulated preliminary injunction (“PI”) with asset
17   freeze, records preservation, new business reporting) FTC v. John Beck Amazing
18   Profits, LLC, No. CV-09-4719-FMC-FFMx, 2009 WL 7844076 (C.D. Cal. Nov.
19   17, 2009) (PI with monitor); FTC v. Johnson, No. 2:10-cv-02203-RLH-GWF, slip
20   op. (D. Nev. Feb. 10, 2011) (PI with removal of deceptive websites, asset freeze);
21   FTC v. Cyberspy Software, LLC, No. 6:08-cv-1872-Orl-31GJK, 2008 WL 5157718
22   (M.D. Fla. Nov. 25, 2008) (PI with website and records preservation); FTC v.
23   Stefanchik, No. C04-1852RSM, slip op. (W.D. Wash. Oct. 20, 2004) (PI with
24
25   1
      See Compl. ¶¶ 56-64 (discussing add-on allegations) and ¶¶ 65-72 (discussing
26   yo-yo allegations). The deceptive and unfair add-on and yo-yo acts and practices
27   are the subject of Counts III-VI. This motion seeks relief as to the FTC’s
     deceptive advertising and online review claims (Counts I-II and VII-IX).
28

                                               2
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 9 of 31 Page ID #:82




 1   notice of financial transactions, record keeping, and compliance monitoring; see
 2   also FTC v. Affordable Media, LLC, 179 F.3d 1228, 1232-33 (9th Cir. 1999) (ex
 3   parte TRO, preliminary injunction, asset freeze, accounting); FTC v. Publ’g
 4   Clearing House, Inc., 104 F.3d 1168, 1170 (9th Cir. 1997) (ex parte TRO,
 5   preliminary injunction).
 6   II. DEFENDANTS
 7                               A. Corporate Defendants
 8         The defendant companies consist of nine dealerships, a holding company,
 9   and a management company: Universal City Nissan, Inc., Glendale Nissan Infiniti,
10   Inc., Sage Downtown, Inc.(d/b/a Kia of Downtown Los Angeles), Valencia
11   Holding Company, LLC (d/b/a Mercedes Benz of Valencia), West Covina Auto
12   Group, LLC (d/b/a West Covina Toyota),2 West Covina Nissan, LLC, Covina
13   MJL, LLC (d/b/a Sage Covina Chevrolet), Sage Vermont, LLC (d/b/a Sage
14   Hyundai), Sage North Hollywood, LLC (d/b/a Sage Pre-Owned), Sage Holding
15   Company, Inc., and Sage Management, Inc. (collectively, “Corporate
16   Defendants”). See Compl. ¶¶ 6-16. Representing themselves to the public as
17   “Sage Auto Group” or the “Sage Dealerships,” PX1 Atts. EL at 639, 642, 668-85,
18   EN at 740-42, EO at 756, EP at 769, 793-97, Defendants operate as a common
19   enterprise in the Los Angeles metropolitan area offering motor vehicles for
20   purchase, finance, or lease. The Corporate Defendants share common management
21   and control, utilize overlapping employees and vendors, share business functions,
22   and commingle funds. See infra at 16-17.
23                                B. Individual Defendants
24         Joseph, Leonard, and Michael Schrage (collectively, “Individual
25
26   2
      The West Covina Toyota dealership was sold to a third party in August 2014,
27   PX1 ¶ 18, but West Covina Auto Group LLC continues to operate as a legal entity
     and as part of the common enterprise. See, e.g., PX1 Att. EP at 775-76, and 831.
28

                                              3
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 10 of 31 Page ID #:83




 1   Defendants”) own and control the Corporate Defendants. PX1 ¶ 17 and Att. M at
 2   68-73. Through a set of family trusts and holding companies, the Individual
 3   Defendants each possess about a 33% interest in the Corporate Defendants. Id. ¶
 4   17 and Atts. M at 68-73, EL at 617, EN at 734, EO at 751. The Individual
 5   Defendants closely control the dealerships as directors and managers of the various
 6   entities and have been involved in the business operations. See infra at 17-19.
 7   III. PRELIMINARY INJUNCTION STANDARD
 8         Pursuant to Section 13(b) of the FTC Act, the Court may grant preliminary
 9   and permanent injunctive relief sought by the FTC. 15 U.S.C. § 53(b). Incident to
10   its authority to issue permanent injunctive relief, Section 13(b) empowers the
11   Court to exercise the full breadth of its equitable authority, including preliminary
12   relief, to ensure final relief is complete and meaningful. See FTC v. Stefanchik,
13   559 F.3d 924, 931 (9th Cir. 2009). Section 13(b) provides that “the Commission
14   may seek, and after proper proof, the court may issue, a permanent injunction”
15   against violations of “any provision of law enforced by” the FTC. Id. The Ninth
16   Circuit has long recognized that any case alleging violations of a law enforced by
17   the FTC is a proper case for which injunctive relief may be sought. See FTC v.
18   Evans Products Co., 775 F.2d 1084, 1086-87 (9th Cir. 1985). In addition to the
19   FTC Act, these laws include TILA and the CLA. 15 U.S.C. § 1607.
20         To determine whether to grant a preliminary injunction in a Section 13(b)
21   case, the Court considers whether (1) the FTC is likely to succeed on the merits
22   and (2) the equities weigh in favor of an injunction. Affordable Media, LLC, 179
23   F.3d at 1233. Unlike private litigants, the FTC need not show irreparable injury
24   because it is presumed in a statutory action; thus, the Court “need only. . . find
25   some chance of probable success on the merits” to grant an injunction. FTC v.
26   World Wide Factors, Ltd., 882 F.2d 344, 347 (9th Cir. 1989); see also Affordable
27   Media, LLC, 179 F.3d at 1233. In considering a preliminary injunction motion, the
28   Court has discretion to consider and accept hearsay evidence. Flynt Distrib. Co. v.

                                                4
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 11 of 31 Page ID #:84




 1   Harvey, 734 F.2d 1389, 1394 (9th Cir. 1984); Athleta, Inc. v. Pitbull Clothing Co.,
 2   No. CV 12-10499-CAS (FMOx), 2013 WL 142877, at *8 (C.D. Cal. Jan. 7, 2013).
 3   A preliminary injunction should issue because the FTC is likely to succeed in
 4   proving Defendants have violated and continue to violate the FTC Act, TILA, and
 5   the CLA and because the public interest favors entry of the requested order.
 6   IV. DEFENDANTS FOR YEARS HAVE DECEIVED CONSUMERS WITH
 7      BLATANTLY UNLAWFUL ADVERTISING AND PHONY REVIEWS
           Although the FTC need only establish likely success on the merits, the
 8
     evidence powerfully demonstrates that Defendants’ advertising is facially
 9
     deceptive and violates the FTC Act, TILA, and the CLA. The evidence also shows
10
     that, far from remediating these violations in the face of consumer complaints and
11
     governmental scrutiny, Defendants have continued undettered. Defendants instead
12
     have tried to disguise their contumacious conduct, in part, through fake online
13
     reviews that violate the FTC Act by purporting to be independent and objective.
14
           A. Defendants Have Deceived Consumers in Violation of the FTC Act.
15
           Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
16
     deceptive acts or practices in or affecting commerce.” An act or practice is
17
     deceptive under Section 5 if there is a representation, omission, or practice that is
18
     likely to mislead consumers acting reasonably under the circumstances, and that is
19
     material to the consumer’s decision. Stefanchik, 559 F.3d at 928; FTC v.
20
     Cyberspace.com, LLC, 453 F.3d 1196, 1199 (9th Cir. 2006); FTC v. Gill, 265 F.3d
21
     944, 950 (9th Cir. 2001). A representation, omission, or practice “is material if it
22
     ‘involves information that is important to consumers and, hence, likely to affect
23
     their choice of, or conduct regarding, a product.’” Cyberspace.com, 453 F.3d at
24
     1201 (quoting In re Cliffdale Associates, Inc., 103 F.T.C. 110, 165 (1984)).
25
           Both express claims and deliberately made claims are presumed material.
26
     FTC v. Pantron I Corp., 33 F.3d 1088, 1095-96 (9th Cir. 1994); FTC v. Colgate-
27
     Palmolive, 380 U.S. 374, 391-92 (1965); FTC v. Am. Tax Relief LLC, No. CV 11-
28

                                                5
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 12 of 31 Page ID #:85




 1   6397 DSF (PJWx), 2012 WL 8281722, at *3 (C.D. Cal. Aug. 8, 2012); FTC v.
 2   John Beck Amazing Profits, LLC, 865 F. Supp. 2d 1052, 1066 (C.D. Cal. Apr. 20,
 3   2012) (“The law does not recognize any distinction between express and implied
 4   misleading claims.”). An advertisement may be “likely to mislead by virtue of the
 5   net impression it creates even though [it] contains truthful disclosures.”
 6   Cyberspace.com, 453 F.3d at 1200.
 7         1.        Defendants Have Disseminated a Variety of Deceptive Ads.
 8         Defendants have repeatedly engaged in at least four kinds of facially
 9   deceptive advertising involving:
10              i.   key terms such as low down payments and low monthly payments,
11           ii.     offers for the purchase of a car that are, in fact, lease offers,
12          iii.     offers that are not generally available to consumers, and
13          iv.      offers to pay off the amount owed on a consumer’s trade-in vehicle
14                   when in fact the consumer must pay this amount.
15         i.        Defendants Have Deceptively Advertised Key Terms Such As Low
16                   Down Payments and Low Monthly Payments.
17         Defendants have deceptively advertised since at least 2010 that a consumer
18   can obtain a motor vehicle with a low down payment or low monthly payment.
19   PX1 ¶ 29 and Atts. Q-AD at 112-65. For example, an advertisement for Universal
20   City Nissan purported to offer a Nissan Altima for “$38 down” and “$38 a month.”
21   Id. Att. R at 115. These express claims are false. In fact, more than $2,695 is due
22   at signing, along with an advance payment of $184.22 and an upfront charge of
23   $590.25, and the monthly payment is $169 per month after the first six months. Id.
24   The true terms of the offer are only disclosed in buried, fine print that consumers
25   are unlikely to notice and that is difficult to read. Id.; see also PX1 ¶ 29 and Atts.
26   S at 117, Z at 132, AA at 134 (advertising $55 down and $55 per month where the
27   fine print revealed a higher down payment and a monthly payment spike after six
28   months); Atts. T at 119, X at 127, Y at 129-30 (similar down and monthly payment

                                                   6
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 13 of 31 Page ID #:86




 1   claims); Att. U at 121 (similar monthly payment claim). Defendant Kia of
 2   Downtown has continued such deceptive advertisements, recently promoting, for
 3   example, a 2016 Kia Forte LX for $0 down, even though $4,999 was required at
 4   signing. PX1 ¶¶ 29, 42, Att. AD at 164 (prominently advertising low terms and
 5   only later, buried in fine-print, stating true higher terms); see also Att. Q at 112-13
 6   (July 2016 advertisement promoting zero down and no deposit, but requiring $119-
 7   $289 at signing). Fine-print disclaimers do not cure Defendants’ deceptive
 8   representations when prominently advertised payment terms are false or
 9   significantly qualified. See Standard Oil Co. of Ca. v. FTC, 577 F.2d 653, 659
10   (9th Cir. 1978); Cyberspace.com, 453 F.3d at 1200. And the amount a consumer
11   must pay is material to and likely to affect a consumer’s purchasing decision. See
12   FTC v. Lights of Am., Inc., 2013 WL 5230681, at *41 (C.D. Cal., Sept. 17, 2013);
13   see also PX1 ¶¶ 86-91 and Atts. EW-FJ (FTC actions regarding same conduct).
14         Consumer complaints, while not necessary to establish deception under the
15   FTC Act, are illustrative of the advertisements’ tendency to mislead. FTC v. USA
16   Fin., LLC, 415 Fed.Appx. 970, 973 (11th Cir. 2011) (“While ‘[p]roof of actual
17   deception is unnecessary to establish a violation of Section 5, such proof is highly
18   probative to show that a practice is likely to mislead consumers acting reasonably
19   under the circumstances.’”). One consumer was enticed by West Covina Nissan’s
20   television advertisement; she twice confirmed the offer and was told there was no
21   catch until she visited the dealership, where she learned that the low payment was
22   limited to the first six months. PX1 Att. CI at 376. Similarly, another consumer
23   described how Universal City Nissan pre-approved her for a car advertised at $55
24   down and $55 per month but then was told at the dealership that she needed a
25   $7,000 down payment. PX1 ¶ 77b; see also PX1 ¶ 77c and Att. CG at 363-65
26   (describing similar experiences at West Covina Toyota and Kia of Downtown).
27
28

                                                7
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 14 of 31 Page ID #:87




 1         ii.    Defendants Have Deceptively Advertised That an Offer is for the
 2                Purchase of a Car.
           Defendants also have disseminated numerous advertisements that purport to
 3
     offer vehicles for purchase when, in fact, Defendants are offering a lease. PX1 ¶
 4
     30 and Atts. V-X at 123-27, AE-AM at 166-84 (prominently advertising payment
 5
     terms and only revealing that the offers are for leases, if at all, in the fine print or
 6
     voiced disclaimers). For example, in a May 2016 television advertisement,
 7
     Glendale Nissan touted a “zero down sales event.” Id. Att. AE at 00:19.3 The
 8
     visual portion of this advertisement repeatedly emphasized that vehicles were
 9
     being offered for sale during the “$0 DOWN SALES EVENT,” and the audio
10
     enticed consumers to “get into this 2016 Sentra for only $109 per month or this
11
     beautiful new Altima for only $159 per month. Both with zero down.” Id. at 00:20-
12
     00:27. The cars were depicted in front of a sign for a “Buy Smart Sales Event.”
13
     Id. The express claims that the advertised terms were for a “sales” offer were
14
     false. Fine print in white font depicted against a light-colored sales floor revealed
15
     that the advertised vehicles with low monthly payments were only available for
16
     “well qualified lessees.” Id. Thus, despite being advertised as “sales” offers, they
17
     are lease offers. See supra at 7 (small print disclosures do not cure misleading
18
     impression). In other instances, Defendants have advertised an original
19
     Manufacturer’s Suggested Retail Price for a vehicle and a lower “you pay”
20
21
     3
22     Ironically, the advertisement begins by spoofing a dealership called “Bamboozle
23   Autos” that—like Defendants’ deceptive advertisements described infra at 9-10—
     is advertising a car for a deceptively low monthly payment. The salesperson
24   ultimately reveals that the offer requires $15,000 down, and a voiceover then
25   suggests that consumers should not get led astray by these kinds of offers.
     Compare PX1 Att. AE (Bamboozle Autos) with PX1 Att. AD at 165 (2015 Nissan
26   Frontier for $139 per month, but the fine-print discloses that the offer requires
27   $15,990 down); see also PX1 Atts. AD at 164, AJ at 176-78, AX at 246-48
     (advertising with low monthly payments and hidden, high down payments).
28

                                                 8
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 15 of 31 Page ID #:88




 1   amount. Id. Atts. AF-AH at 168-72. These claims, however, are misleading: what
 2   “you pay” for is not a purchase offer but a pre-paid lease. This fact is not disclosed
 3   until well into the fine print. Id. The fact that a consumer cannot finance and
 4   purchase a car at the advertised terms, and instead can only lease the car at those
 5   terms, is likely to affect a consumer’s decision, and is thus material. Therefore, the
 6   representations in these advertisements are deceptive in violation of the FTC Act.
 7   See also PX1 ¶¶ 86-91 and Atts. FK-FT (FTC actions regarding same).
 8           iii. Defendants Have Deceptively Advertised Offers that Are Not
 9                Generally Available to Consumers.
           Defendants also have deceptively presented offers that are not available to
10
     the typical consumer in numerous advertisements since at least 2010. PX1 ¶¶ 31-
11
     32 and Atts. Q at 112-13, U at 121, AB-AD at 135-65, AN-AX at 186-248. For
12
     instance Defendants have prominently advertised payment terms that do not apply
13
     to the typical consumer, but only to certain groups of consumers. Id. Atts. AN at
14
     186, AS at 205 (recent college graduate with high credit score); Att. AP at 195-96
15
     (recent college grad who qualifies for dealer loyalty programs); Att. AQ at 199-200
16
     (recent college grad and “well-qualified lessee”); Att. Q at 112-13 (recent college
17
     grad and military veteran); Atts. U at 121, AA at 134 (high credit score). These
18
     limitations, however, are not disclosed except in the fine-print terms, id., or, if
19
     listed, that fine print reveals a typical consumer is unlikely to obtain fully. PX1
20
     Atts. AO at 188-92, AR at 203. In other advertisements, Defendants have targeted
21
     credit-challenged consumers who are unlikely to qualify for Defendants’ offers
22
     because the advertised terms are only available to consumers with at least good
23
     credit. PX1 ¶¶ 33-37 and Atts. AT-AW at 206-43, AY at 250, AZ at 252, BE at
24
     264 (directing credit-challenged consumers to consider vehicle terms for which the
25
     fine-print discloses a high credit score requirement). Defendants also frequently
26
     have advertised low monthly payment rates while hiding a high down payment
27
     approaching or exceeding $10,000 in the fine print. PX1 ¶ 32 and Atts. AD at 164-
28

                                                9
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 16 of 31 Page ID #:89




 1   65 and AX at 245-48.4 Indeed, during the weekend of October 1-2, 2016—after
 2   the FTC filed the complaint in this case—Defendant Kia of Downtown
 3   prominently advertised numerous vehicles for the attractively low monthly
 4   payment of $98. PX 1 ¶¶ 45-47 and Att. AJ at 176-78. However, the fine print
 5   revealed that a consumer would be required to make a down payment of $9,995 to
 6   obtain the vehicle for that low monthly payment amount. Id.
 7         These representations are misleading because they advertise terms that the
 8   typical consumer cannot obtain. See FTC v. Five-Star Auto Club, Inc., 97 F. Supp.
 9   2d 502, 528 (S.D.N.Y. 2000) (finding that for an unqualified claim to be true, it
10   needs to be true for the typical consumer); Nat. Dynamics Corp. v. FTC, 492 F.2d
11   1333, 1335 (2d Cir. 1974) (prohibiting defendant from making “deceptive use of
12   unusual earnings [claims] realized only by a few”); FTC v. Data Med. Capital,
13   Inc., 2010 WL 1049977, at *27-28 (C.D. Cal. Jan. 15, 2010) (finding claims about
14   a high likelihood of success to be false and misleading where they overshadowed
15   disclaimers about no guarantees). Because the price of an item is likely to affect a
16   consumer’s decision to purchase the good or service, these representations are
17   material, see Lights of Am., Inc., 2013 WL 5230681, at *41, and therefore
18   deceptive under the FTC Act. See, e.g., PX1 ¶¶ 86-91 and Atts. FU-GB at 1165-
19   235 (FTC actions regarding same).
20         iv.    Defendants Have Deceptively Advertised That That They Will
21                Pay Off a Consumer’s Trade-in Even if the Consumer Owes
                  Money on the Existing Loan or Lease.
22
           Since at least 2009, Defendants have deceptively advertised that they will
23
     pay off a consumer’s trade-in vehicle, even when the consumer owes money on his
24
25   4
      In addition, some of Defendants’ advertisements provide important disclaimers in
26   English, even when the advertisement otherwise is presented in another language
27   such as Spanish, Khmer, or Chinese. PX1 ¶ 39, Atts. AT at 206, AU at 208-12,
     and BR-BY at 311-38.
28

                                              10
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 17 of 31 Page ID #:90




 1   or her previous loan or the lease—in reality, the consumer ends up paying the
 2   owed amount. PX1 ¶ 38 and Atts. BI-BQ at 282-310. Indeed, some of
 3   Defendants’ advertisements have presented an unqualified claim that Defendants
 4   will pay off consumers’ trade-in vehicles. Id. Atts. BJ at 286, BM at 296. Other
 5   advertisements have included a subsequent, often remote, disclaimer, such as
 6   “[n]egative equity may be added to new loan or lease balance.” Id. Atts. BK at 290,
 7   BN at 300, BO at 303; see also id. at Atts. BI at 282-83, BL at 292-94, BP at 305-
 8   7, and BQ at 309-10 (claims made once without disclosure and a second time with
 9   disclosure). Yet, in fact, consumers later learn that they are responsible for paying
10   the amount owed. See, e.g., PX1 ¶ 77a (consumer complaint that West Covina
11   Nissan falsely advertised that it would pay off any trade-in but actually added the
12   amount to the loan). Whether the Defendants pay off a consumer’s loan or lease
13   affects the cost of the transaction and is likely to affect the consumer’s decision to
14   purchase or lease a vehicle, and is therefore material. Lights of Am., Inc., 2013 WL
15   5230681, at *41. These representations accordingly are deceptive under the FTC
16   Act. PX1 ¶¶ 86-91 and Atts. GC-GD at 1237-71, EY-EZ at 925-69, and FE-FF at
17   1003-19 (FTC actions regarding same).
18         2.     Defendants Have Posted and Promoted Deceptive Consumer
19                Testimonials and Endorsements.
           Defendants deceptively have posted or promoted reviews appearing on third-
20
     party websites, like Facebook, Google+, and Yelp, that purport to be independent
21
     and objective but that are written by Defendants’ employees, managers, and
22
     agents. These phony reviews—written by many of the same employees consumers
23
     are supposed to depend on during the sales and financing process—have sought to
24
     bolster Sage Auto’s reputation and undermine the many negative reviews
25
     Defendants have received, including reviews that highlight their unlawful
26
     practices. See PX1 ¶¶ 50, 70-73 and Atts. CD-CI at 350-76, DY-EB at 537-47.
27
           For example, one sales representative purporting to be objective and
28

                                               11
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 18 of 31 Page ID #:91




 1   independent posted a Yelp review from a Universal City Nissan IP address. See
 2   PX1 ¶¶ 51c, 53 and Atts. CL at 387, CU at 430. The reviewer claimed he had been
 3   “researching for months and shopping tirelessly” and that Defendant Universal
 4   City Nissan “went above and beyond for me.” PX1 Att. CL at 387. The reviewer
 5   claimed to be a “very detailed informative customer” and implored that “[e]ven if
 6   you get discourage because you had or saw a bad review go back and ask for them
 7   they dislike to loose customers they will give you an amazing deal.” Id. (typos in
 8   original). In fact, the reviewer was Defendants’ sales representative. See PX1 ¶¶
 9   58a, 74b and Atts. DD at 465 (Facebook photos include Yelp photo), ED at 558.
10         Following a number of negative Yelp reviews about Defendant West Covina
11   Nissan, the dealership’s then-internet manager, his wife, and another manager
12   posted five-star reviews purporting to be objective or independent. PX1 ¶¶ 51g-51i
13   and Atts. CP-CR at 404-12. The manager’s review asserted that a “salesman told
14   me when customers don’t get there [sic] price[,] one way they want to get revenge
15   is to put a bad review to taint the reputation of the place.” PX1 Att. CR at 412.
16   The manager’s wife posted another five-star review that same day, which stated
17   “auto dealers have a bad rep and most dealers have bad yelp reviews, I will not let
18   it bother, go inn and ask for Internet department and they will take a good car of
19   you [sic].” PX1 Att. CQ at 408. Approximately four days later, another manager
20   posted a five-star review. PX1 Att. CP at 405.5
21         Other deceptive reviews include but are not limited to:
22             Glendale Infiniti’s General Manager: “I drove the Q50..... guys
23                this car is going to be a game changer....On a side note Thanks
24
25   5
       In all of these cases, the reviewer profiles match other sources of information,
26   including Facebook and LinkedIn and the dealerships’ employee listings, which
27   indicate that these reviewers are actually connected to the Defendants. See
     generally PX1 ¶¶ 51g-51i, 58f, 62, 74a, 74c and Atts. CP-CR, DK, EC, EE.
28

                                              12
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 19 of 31 Page ID #:92




 1                for taking care of my 2011 G37 Cpe, Thank You Mr. Ong for
 2                the deal on service!!!” PX1 ¶ 51a and Atts. CJ at 379, DV at
 3                528; see also PX1 ¶ 51e and Atts. CN at 393, DV at 528.
 4              Kia of Downtown Internet Sales Manager: “I would like to
 5                update my review to state that this dealership is truly
 6                exceptional and I really appreciate the way they treat their
 7                clients. . . . I say this from experience, they are super helpful
 8                and they care about their clients a lot.” PX1 ¶ 51f and Atts. CO
 9                at 401, DW at 531.
10              Universal City Nissan sales employee: “What a great deal I
11                gotten here after shopping for months and driving everywhere I
12                finally got the deal that I wanted. . . if you’re looking to buy a
13                car please come to the dealership they are respectful of your
14                time and great customer service . . . I love my new ride.” PX1
15                ¶¶ 51j, 59i and Atts. CS at 419, DN at 500.
16   Yelp even flagged some of the phony reviews originating from Universal
17   City Nissan’s IP address, issuing a consumer alert that “someone may be
18   trying to artificially inflate the rating for this business” and removing the
19   reviews from the business page. PX1 ¶ 52 and Att. CT at 424. Numerous
20   reviews that Yelp flagged were written by Defendants’ employees.
21   Compare Att. CU at 430 with Atts. CL at 387, CM at 390. Notwithstanding
22   Yelp’s efforts, phony reviews remain on its site as well as other review sites.
23   See PX1 ¶ 51 and Atts. CJ-CS (Yelp reviews); PX1 ¶ 58 and Atts. DD-DN
24   (Facebook reviews); PX1 ¶ 64 and Atts. DP-DQ (Google reviews).
25         Defendants also have promoted these reviews on their own websites
26   without disclosing the material connections between the reviewers and
27   Defendants. PX1 ¶ 66 and Atts. DT-DU at 523-26 (landing pages for
28   Universal City Nissan and Kia of Downtown with consumer reviews from

                                               13
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 20 of 31 Page ID #:93




 1   ten different online websites).
 2         Defendants have allowed these reviews to remain even after the FTC shared
 3   a proposed complaint that alleged this unlawful conduct, and additional phony
 4   reviews have continued to be posted. See, e.g., PX1 ¶¶ 51a, 51f and Atts. CK at
 5   383, CO at 396 (phony reviews posted as recently as September 22). Sage Pre-
 6   Owned’s Facebook page has numerous employee reviews that are deceptive or do
 7   not disclose their material connection, including a five-star review by Defendant
 8   Michael Schrage. PX1 ¶¶ 56, 59-62 and Att. DB at 458. Similarly, Sage
 9   Hyundai’s Facebook reviews have continued to include five-star reviews by
10   employees and their social media management company that do not disclose their
11   connections to Defendants. PX1 ¶¶ 56, 59-62 and Att. CZ at 458; PX1 ¶¶ 56-57,
12   58h and Atts. CZ at 458 (Reputation Review’s Tony Ly five-star review: “Sage
13   Hyundai the place to shop for your new Hyundai. Great people and a selection to
14   wow for.. Highly recommended. .”).6
15         Defendants have misrepresented these fake endorsements to be independent
16   and objective, and the reviews have failed to disclose their material connection
17   with Defendants. A dealership’s online reputation is likely to affect a consumer’s
18   decision to visit a dealership and purchase or lease a vehicle there7 and is therefore
19   material. Thus, Defendants’ conduct is deceptive in violation of the FTC Act. See
20   FTC v. Grant Connect, LLC, 827 F. Supp. 2d 1199, 1214, 1227-28 (D. Nev. 2011)
21   (“Examples of deceptive conduct violative of the Act include . . . providing false
22   testimonials regarding the defendant’s product”); FTC v. Bronson Partners, LLC,
23
24
     6
25     Reviews Reputation and Tony Ly serve as Defendant Sage Hyundai’s reputation
     management company. See PX1 Att. DA at 456 (powered by Reputations
26   Review); see also id., Atts. DC, DM, and EG.
     7
27     As Digital Air Strike found, 50% of consumers “ranked review sites as the most
     influential dealership selection tool.” See PX1 ¶ 70 and Att. DX at 534.
28

                                               14
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 21 of 31 Page ID #:94




 1   564 F. Supp. 2d 119, 125 (D. Conn. 2008) (“[W]hen an advertisement contains a
 2   testimonial reflecting the experience of an individual with a product, there is an
 3   implicit representation that such experience reflects the typical or ordinary results
 4   anyone may anticipate. . . .”); FTC v. LeanSpa, LLC, No. 3:11-CV-1715, 2015 WL
 5   1004240, at *10-13 (Mar. 5, 2015) (finding fake consumer comments that were not
 6   provided by independent consumers to be material and “deceptive as a matter of
 7   law”); see generally 16 C.F.R. § 255.5 (material connections between seller and
 8   endorser that the audience may not reasonably expect must be fully disclosed).
 9                    B. Defendants Have Violated TILA and the CLA.
10         Defendants’ advertisements not only violate the FTC Act but also other
11   federal laws that require clear and conspicuous disclosure of certain terms.
12         TILA and its implementing Regulation Z, 12 C.F.R. § 226, require that if an
13   advertisement for closed-end consumer credit, such as the purchase or financing of
14   a car, states the down payment or other specific terms (“triggering terms”), the
15   advertisement also must make additional disclosures clearly and conspicuously,
16   including (i) the amount or percentage of the down payment, (ii) the terms of
17   repayment, and (iii) the APR and if the rate may be increased after consummation.
18   12 C.F.R. § 226.24(b)-(d). Defendants’ advertisements routinely have violated
19   these textbook disclosure requirements, including by advertising the amount of a
20   down payment but then failing to disclose or to disclose adequately the APR, or by
21   advertising the term of repayment but failing to disclose the amount of the down
22   payment. PX1 ¶ 40 and Atts. U, BD at 260-61, BK at 289, BZ at 340, CA. These
23   violations often appear in advertisements that violate not only TILA as alleged in
24   Count VIII but also the FTC Act. Id. Atts. U, BD at 260-61, BK at 289; see also
25   PX1 ¶¶ 87-92 and Atts. EY-EJ (FTC actions involving same conduct).
26         Like TILA, the CLA and its implementing Regulation M requires that any
27   advertisements offering consumer leases comply with its disclosure requirements.
28   12 C.F.R. § 213.7. Under the CLA, if an advertisement for a consumer lease states

                                               15
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 22 of 31 Page ID #:95




 1   the amount of any payment, the advertisement also must clearly and conspicuously
 2   disclose that the transaction is a lease and certain other terms. 12 C.F.R.
 3   § 213.7(b) and (d). Although Defendants’ advertisements state the amount of
 4   payments, they fail to clearly and conspicuously disclose other required terms,
 5   including whether a security deposit is required or even that the advertised
 6   transaction is a lease. 12 C.F.R. § 213.7(d)(2)(i); see PX1 ¶ 41 and Atts. Q, U,
 7   AG, AO at 188-90, BZ at 340-42, CB. These violations often appear in
 8   advertisements that violate not only the CLA as alleged in Count IX but also the
 9   FTC Act. Id. Atts. Q, U, AG, AO at 188-90, BZ at 340-42; see also PX1 ¶¶ 86-91
10   and Atts. EW-EZ (FTC actions involving same conduct).
11    C. Corporate Defendants Have Operated as a Common Enterprise and Thus Are
                            Each Jointly and Severally Liable.
12
           Because Corporate Defendants have operated as a common enterprise, they
13
     are jointly and severally liable for the consumer injury they have caused. See FTC
14
     v. J.K. Publ’ns, Inc., 99 F. Supp. 2d 1176, 1202 (C.D. Cal. 2000). Many factors
15
     demonstrate the existence of a common enterprise, including common control,
16
     shared officers, shared office space, commingling of funds, unified advertising,
17
     and whether the business was transacted through a maze of interrelated companies.
18
     See FTC v. Neovi, Inc., 598 F. Supp. 2d 1104, 1116 (S.D. Cal. 2008); J.K. Publ’ns,
19
     99 F. Supp. 2d at 1201-02; see also FTC v. Network Servs. Depot, Inc., 617 F.3d
20
     1127, 1142-43 (9th Cir. 2010). No one factor is dispositive and all factors need not
21
     be present to justify a finding of common enterprise. FTC v. Kennedy, 574 F.
22
     Supp. 2d 714, 722 (S.D. Tex. 2008). Here, Corporate Defendants have exhibited
23
     several hallmark characteristics of a common enterprise: Defendants have
24
     common management and control, utilize overlapping employees and outside
25
     vendors, such as advertising agencies and attorneys, share business functions, and
26
     comingle financial assets. PX1 ¶¶ 9, 82, and Atts. EL at 614-15, EP at 765-73.
27
28

                                              16
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 23 of 31 Page ID #:96




 1         Corporate Defendants have shared managers, principals, and employees.
 2   For example, Joseph Schrage, Leonard Schrage, and Michael Schrage are all
 3   directors of Sage Downtown, Sage Holding and Sage Management. PX1 ¶¶ 9, 17
 4   and Atts. M at 70-73. Michael Schrage is the manager of Valencia Holding. PX1
 5   ¶ 17d. Michael Schrage is the President, Joseph Schrage is the Vice President, and
 6   Leonard Schrage is the Secretary/Treasurer of Sage Downtown, Valencia Holding,
 7   Sage Holding and Sage Management. PX1 ¶ 17. Some of the Corporate
 8   Defendants, such as Universal City Nissan, Sage Holding, and Sage Management,
 9   also have shared office space and business addresses. PX1 ¶ 9.
10         The entities also have shared advertising materials. All the dealerships are
11   promoted on the internet through Sage Auto Group, including a central website.
12   PX1 Att. EL at 637-40 and 712-22. Indeed, many Defendants have regularly used
13   the same advertising companies. Id. (Clockershade and Dealer.com); see also Att.
14   M at 84 (Tunuva Media).
15         Finally, Defendants have shifted money between dealerships to capitalize
16   new ventures or to cover shortfalls at dealerships, have moved profits upstream to
17   a management entity controlled by the three Individual Defendants, and have
18   misappropriated dealership monies to pay for personal expenses, such as private
19   aircrafts, gifts for friends and girlfriends, and to pay for personal financial losses.
20   PX1 Atts. EL at 616-30; EP at 822 (“most business entities are flow thru’s” to
21   individuals); GH at 1301 and 1303 (finding evidence of “misused Company funds”
22   and “pay[ment of] extravagant personal expenses).
23        D. Individual Defendants Are Liable for Injunctive and Monetary Relief.
24         Joseph, Leonard, and Michael Schrage are individually liable for both
25   injunctive and monetary relief for the Corporate Defendants’ unlawful conduct.
26   Individuals may be liable not only for their own unlawful conduct but also may be
27   subject to injunctive and monetary relief for violations by the corporation.
28   Stefanchik, 559 F.3d at 931. Injunctive relief against an individual defendant is

                                                17
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 24 of 31 Page ID #:97




 1   appropriate when that individual participated in or had authority to control the
 2   unfair or deceptive acts of the corporation. See Stefanchik, 559 F.3d at 931; Publ’g
 3   Clearing House, 104 F.3d at 1170-71. In general, an individual’s status as a
 4   corporate officer of a closely held corporation gives rise to a presumption of ability
 5   to control and is probative of an individual’s participation. FTC v. Amy Travel
 6   Serv., Inc., 875 F.2d 564, 574 (7th Cir. 1989); Publ’g Clearing House, 104 F.3d at
 7   1170-71; Five-Star Auto Club, 97 F. Supp. 2d at 538. “Active involvement in
 8   business affairs and the making of corporate policy,” including day-to-day
 9   oversight of the company’s activities, review of sales or marketing strategy, and
10   supervision of employees is demonstrative of both participation and authority to
11   control. Amy Travel, 875 F.2d at 573; FTC v. Commerce Planet, Inc., 878 F. Supp.
12   2d 1048, 1079-80 (C.D. Cal. 2012).
13         Here, the conduct of each Individual Defendant satisfies the standards for
14   individual liability for injunctive relief. Each individual possesses a 33%
15   ownership interest in the Corporate Defendants and shares a role as manager,
16   managing member, principal, and officer of those entities. See supra at 4. Each
17   thus has held a position of authority with one or more of the Corporate Defendants,
18   and, as corporate officers of the closely held Corporate Defendants, each has had
19   the authority to control the deceptive conduct. See supra at 17-18; FTC v.
20   Benning, 2010 WL 2605178 at *5–6 (N.D. Cal. June 28, 2010) (finding individual
21   liability where the defendant owned 30% of the closely held corporation).
22         Additionally, Individual Defendants routinely have weighed in on and
23   dictated company decisions, including supervising employees and approving the
24   dealerships’ deceptive advertising campaigns, and reviewing complaints. PX1 ¶
25   82 and Atts. EN at 731, 739-40; EO at 748-49, 754; PX1 ¶ 43 and Att. CC at 348;
26   PX1 ¶¶ 70-73 and Atts. DY-EB; see FTC v. Ross, 897 F. Supp. 2d 369, 383 (D.
27   Md. 2012) (holding that “[a]ctive supervision of employees” and creation or
28   development of the deceptive marketing materials is demonstrative of direct

                                              18
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 25 of 31 Page ID #:98




 1   participation). In fact, Michael Schrage has served as the general manager for at
 2   least Universal City Nissan, PX1 Att. EP at 768 and 799, and directed the rehiring
 3   of an employee by West Covina Nissan who had been fired for misrepresenting
 4   warranty service claims. PX1 ¶ 44 and Att. EM at 726-28.
 5         Further, the FTC is likely to succeed in holding all three individuals liable
 6   for monetary redress. Although it is not necessary for injunctive relief, individuals
 7   may be held liable for monetary redress if they had, or should have had, knowledge
 8   or awareness of the misrepresentations. Stefanchik, 559 F.3d at 931; Cyberspace,
 9   453 F.3d at 1202; Affordable Media, LLC, 179 F.3d at 1231. Here, each Individual
10   Defendant possessed knowledge of the violative conduct or, at a minimum, was
11   aware of a high probability of fraud and intentionally avoided learning the truth.
12   See, e.g., FTC v. Pantron I Corp., 33 F.3d 1088, 1103-04 (9th Cir. 1994) (finding
13   evidence that defendant “was aware of a high likelihood” that claims were false
14   sufficient to hold him personally liable for monetary relief); Cyberspace, 453 F.3d
15   at 1202 (finding that review of deceptive material and evidence of knowledge of
16   complaints was “sufficient, as a matter of law,” to demonstrate at least reckless
17   indifference). The Individual Defendants were aware of the numerous complaints
18   and lawsuits describing Defendants’ fraudulent conduct. PX1 ¶¶ 70-73 and Atts.
19   DY-EB. Moreover, as noted above, at least Michael and Joseph Schrage have
20   sanctioned the deceptive advertisements or had regular involvement with online
21   reviews. PX1 ¶ 82 and Atts. EN at 731, 739-40; EO at 748-49, 754; PX1 ¶ 43 and
22   Att. CC at 348. Leonard Schrage has even received notice from the Los Angeles
23   City Attorney that certain types of advertising were deceptive. PX1 ¶ 86 and Att.
24   EV at 905-6. This evidence, thus, demonstrates Individual Defendants’ knowledge
25   of the deceptive conduct or at the very least their reckless indifference to it. See,
26   e.g., Cyberspace, 453 F.3d at 1202.
27
28

                                               19
 Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 26 of 31 Page ID #:99




 1   V. A PRELIMINARY INJUNCTION AGAINST DEFENDANTS IS
 2      NEEDED TO HALT DEFENDANTS’ ILLEGAL PRACTICES
                   A. The Commission Is Likely to Succeed on the Merits.
 3
           To demonstrate a likelihood of success on the merits, the FTC need only
 4
     demonstrate “some chance of probable success on the merits.” World Wide
 5
     Factors, 882 F.2d at 347. While the FTC need not present evidence at this stage to
 6
     justify a final determination that Defendants violated the law, the record abounds
 7
     with such evidence. For the reasons discussed above, the FTC has established that
 8
     it is likely to succeed on the merits of Counts I-II and VII-IX, showing that
 9
     Defendants have violated and continue to violate the FTC Act, TILA, and the
10
     CLA. The FTC also has demonstrated that Corporate Defendants are jointly and
11
     severally liable because they have operated as a common enterprise and that
12
     Individual Defendants are jointly and severally liable for the unlawful acts.
13
                     B. The Balance of Equities Favors Injunctive Relief.
14
           When a district court “balances the hardships of the public interest against a
15
     private interest, the public interest should receive greater weight.” Affordable
16
     Media, LLC, 179 F.3d at 1236 (quoting World Wide Factors, 882 F.2d at 347).
17
     The public interest is especially strong in enforcing consumer protection laws.
18
     FTC v. Mallett, 818 F. Supp. 2d 142, 149 (D.D.C. 2011). Indeed, the Ninth Circuit
19
     has instructed that, once the FTC demonstrates a likelihood of success on the
20
     merits, “a countershowing of private equities alone does not justify denial of a
21
     preliminary injunction.” FTC v. Warner Commc’ns, Inc., 742 F.2d 1156, 1165
22
     (9th Cir. 1984).
23
           The public equities—protection of consumers from Defendants’ deceptive
24
     conduct and effective enforcement of the law—weigh heavily in favor of granting
25
     the requested injunctive relief. Defendants’ conduct indicates that they will likely
26
     continue to deceive the public. Five-Star Auto Club, 97 F. Supp. 2d at 536 (“[P]ast
27
     illegal conduct is highly suggestive of the likelihood of future violations.”).
28

                                               20
     Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 27 of 31 Page ID
                                       #:100



 1    Indeed, Defendants’ law violations have persisted even in the face of repeated
 2    governmental notice that the conduct is unlawful. Defendants have continued their
 3    deceptive advertisements after receiving notice from the Los Angeles City
 4    Attorney in November 2013 about misleading advertising. PX1 ¶ 86 and Att. EV
 5    at 905-905. The conduct has persisted despite the FTC’s many law enforcement
 6    actions for the same conduct. See PX1 ¶¶ 87-92 and Atts. EW-GD. And,
 7    Defendants have remained undettered notwithstanding knowledge of the FTC’s
 8    investigation, receipt of the FTC’s draft complaint around February 1, 2016, and
 9    even the filing of this action. See PX1 ¶¶ 10 and 25.
10           In contrast, any private equities are not compelling. “[T]here is no
11    oppressive hardship to defendants in requiring them to comply with the FTC Act,
12    refrain from fraudulent representation or preserve their assets from dissipation or
13    concealment.” World Wide Factors, 882 F.2d at 347. Courts within the Ninth
14    Circuit have consistently found that the public interest outweighs a party’s ability
15    to advertise deceptively; indeed, “the public interest in preventing further
16    consumer deception outweighs [d]efendants’ private interest in continuing to
17    advertise and market its products and services in the same manner.” See John Beck
18    Amazing Profits, LLC, 2009 WL 7844076, at *16; FTC v. City W. Advantage, Inc.,
19    2008 WL 2844696, at *6 (D. Nev. July 22, 2008) (noting that “[t]here is no
20    hardship to [defendants] in requiring them merely to follow the law-to refrain from
21    making misrepresentations to consumers they contact”). The balance therefore tips
22    strongly in favor of a preliminary injunction.
23           Because the FTC is likely to succeed in proving that Defendants are
24    engaging in deceptive and unfair practices in violation of the FTC Act, TILA, and
25    the CLA, and that the balance of equities strongly favors the public, preliminary
26    injunctive relief is justified.
27
28

                                                21
     Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 28 of 31 Page ID
                                       #:101



 1
 2          C. The Scope of the Proposed Preliminary Injunction Is Necessary and
               Appropriate in Light of Defendants’ Egregious, Unlawful Conduct.
 3
            To protect consumers and to preserve the Court’s ability to award effective
 4
      final relief, including restitution to injured consumers, the FTC requests that the
 5
      Court issue a preliminary injunction. See Proposed Preliminary Injunction Order
 6
      (“Proposed PI”). The Proposed PI is tailored to prohibit Defendants from using the
 7
      deceptive advertisement (§§ I-IV) and endorsement (§§ I.E, II.C, and V) practices
 8
      described herein. Courts routinely have granted preliminary injunctions in FTC
 9
      cases involving deceptive advertising. See supra at 2-3 (citing FTC cases granting
10
      temporary or preliminary injunctive relief). The Proposed PI also includes
11
      provisions addressing disabling deceptive reviews (§ V), record preservation (§
12
      VI), notice of certain financial transactions, new entities, and litigation (§ VII),
13
      order distribution and service (§§ VIII-X), and retention of jurisdiction by the
14
      Court (Proposed PI § XI). If Defendants’ unlawful activities continue during the
15
      pendency of this case, consumers will continue to be deceived.
16
            Because Defendants have posted deceptive reviews that remain on third
17
      party websites, Section V of the Proposed PI would require Defendants and any
18
      such third parties to disable public access to existing reviews that would violate
19
      Sections I.E. or II.C of the Proposed PI (defined as “Deceptive Reviews”). An
20
      order binding third parties is necessary because Defendants may not be able to
21
      disable access to the deceptive reviews pursuant to the third parties’ terms of
22
      service (“TOS”). See, e.g., PX1 Atts. CX (Yelp TOS) at 445, DO (Facebook TOS)
23
      at 500, and DR-DS (Google TOS) at 513 and 518. Courts have, on numerous
24
      occasions, entered such orders requiring disabling public access of deceptive
25
      internet content. See supra at 2-3 (citing orders); FTC v. Cornerstone and Co., No.
26
      1:14-cv-01479-RC, slip op. (D.D.C. Aug. 29, 2014) (TRO disabling website
27
      access); FTC v. Stuffingforcash.com Corp., No. 1:02-cv-05022-CRN, slip op.
28

                                                 22
     Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 29 of 31 Page ID
                                       #:102



 1    (N.D. Ill. Aug. 26, 2002) (PI disabling website access); FTC v. Cantkier, No. 1:09-
 2    cv-00894 (CKK) (D.D.C. May 15, 2009) (TRO disabling online
 3    advertisements). The requested relief is likewise necessary here to protect
 4    consumers from ongoing deception.
 5          Courts have routinely required record preservation in FTC cases involving
 6    deception. See, e.g., supra at 2-3 (citing orders). It is appropriate to enjoin
 7    Defendants charged with deception from destroying evidence and doing so would
 8    impose no significant burden. See SEC v. Unifund SAL, 910 F.2d 1028, 1040 n.11
 9    (2d Cir. 1990) (characterizing such orders as “innocuous”). Such a provision is
10    particularly necessary because Defendants have demonstrated a willingness to flout
11    the law. During the FTC’s investigation, Defendants have failed to preserve and
12    produce even basic evidence required by the CID. PX1 ¶¶ 18-24 and Atts. O at
13    104-05, P at 108-09. Indeed, Defendants have admitted that, other than email on
14    their own computers, they are “not involved in the preservation of emails on any
15    email servers,” such as their agents that host their email or their employees’ use
16    personal email addresses and cell phones for business purposes. PX1 ¶¶ 23-24 and
17    Att. P at 108-09. For instance, Defendant West Covina Nissan has destroyed
18    relevant material in other court proceedings. See PX1 ¶ 80 and Att. EJ at 591-93
19    (imposing spoliation sanctions). And, according to a court-appointed independent
20    examiner in state court litigation, some Defendants have made false statements and
21    fabricated documents. PX1 ¶ 83 and Atts. ER at 839-42, ES at 850-52, ET at 874-
22    75. Similarly, Nissan North America has found that at least one Defendant
23    “invented” warranty and repair claims “out of whole cloth” as part of a “massive
24    scheme to defraud” NNA. PX1 ¶ 84 and Att. EU at 878-79. Given Defendants’
25    brazen disregard for the law, there is a sizeable risk that Defendants, their
26    employees and agents are not preserving important evidence. The record
27    preservation provision will help ensure that relevant evidence is not destroyed.
28          The notice provisions are necessary to guard against the dissipation and

                                                23
     Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 30 of 31 Page ID
                                       #:103



 1    diversion of assets that may be used for final relief. When a district court
 2    determines that the FTC is likely to prevail on the merits, it has a “duty to ensure
 3    that. . . assets . . . [are] available to make restitution.” FTC v. World Travel
 4    Vacation Brokers, 861 F.2d 1020, 1031(7th Cir. 1988). As a California state court
 5    recently found in issuing a preliminary injunction involving Defendants,
 6    Defendants have been self-dealing, including significant “personal expense abuse.”
 7    See PX1 ¶ 81 and Att. GH at 1300. Defendants nonetheless have flouted the court-
 8    issued injunction by continuing to engage in prohibited conduct—going so far as to
 9    make false statements and fabricate documents to the court-appointed examiner to
10    disguise the unlawful transactions. PX1 ¶ 83 and Atts. ER at 839-42, ES at 850-
11    52. In FTC cases involving potential asset dissipation, courts have ordered asset
12    freezes, accountings, and financial statements. See, e.g., supra at 2-3 (citing orders
13    with such relief); see also The Wimbledon Fund, SPC v. Graybox, LLC, 2015 WL
14    5822580, at *5 (C.D. Cal. Sept. 29, 2015) (discussing authority for asset freeze).
15    Here, in light of the Defendants’ business operations, the FTC has tailored the
16    notice provisions to require notice if Defendants make certain monetary transfers
17    for non-business purposes or are involved in litigation affecting their financial
18    interests, to allow the FTC to seek further relief as necessary.
19          The Court also should enter the new entity reporting requirement (Proposed
20    PI § VII) because Defendants have continued to establish new dealerships and
21    entities, including dealerships that have quickly began receiving complaints about
22    unlawful conduct. Indeed, Defendants formed Covina Chevrolet, Sage Pre-
23    Owned, and Sage Hyundai during the FTC’s investigation, but did not disclose
24    their existence to the FTC notwithstanding a Civil Investigative Demand legally
25    requiring production of this information. PX1 ¶ 18. The Schrage litigation also
26    indicates that certain Defendants may be creating more new entities: “[o]ver the
27    past several weeks, Leonard has learned (as has the Examiner appointed by Judge
28    Chalfant) that Michael and Joseph have secretly opened several new entities under

                                                24
     Case 2:16-cv-07329-CAS-AJW Document 11-1 Filed 10/06/16 Page 31 of 31 Page ID
                                       #:104



 1    the ‘Sage’ banner and have transferred Company funds there in plain violation of
 2    Judge Chalfant’s injunction. . . .” PX1 ¶ 82 and Att. EQ at 833. Under such
 3    circumstances, courts in cases alleging FTC Act violations have granted similar,
 4    and often more extensive, relief. See, e.g., supra at 2-3 (citing orders).
 5          Courts often require order distribution, correspondence, and service
 6    provisions in FTC cases. See id. Defendants and their employees appear to use
 7    personal e-mail and cell phones for business purposes, PX1 ¶¶ 22, 58a, 72 and
 8    Atts. O at 105, DE-DF, EA, and provisions requiring circulation and
 9    acknowledgment of the order would ensure that Defendants and their employees
10    and agents preserve any business-related evidence in their possession.
11    VI. CONCLUSION
12          Like the fictitious dealership “Bamboozle Autos” depicted in one of Sage
13    Auto’s recent advertisements, see supra at 8 n.3, Defendants have been
14    bamboozling consumers with misleading advertising and fake online reviews. As
15    a result of this conduct, Defendants have caused and likely will continue to cause
16    substantial public injury by violating the FTC Act, TILA, and the CLA. The FTC
17    requests that this Court grant the FTC’s Motion for Preliminary Injunction to
18    protect the public from further harm and to ensure effective relief to those harmed.
19
20    Date: October 6, 2016                          Respectfully submitted,
21
22                                                   /s/ Daniel Dwyer
23                                                   Thomas J. Widor
                                                     Daniel Dwyer
24                                                   Thomas J. Syta
25
                                                     Attorneys for Plaintiff
26                                                   FEDERAL TRADE COMMISSION
27
28

                                                25
